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APPENDIX IV
° TAB X
 

 

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By Hara Shaw
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S “have simian views.

ni There are. a hundred ways to get this wrong,”
‘says Meyer. “And only afew get them fight. "

Ohio got itright he says, when He state Boardor OE st: ‘sf
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- dain that grieritists Todntinue to Mrvrestigate and
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= thal; Mayer sage.

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- put atiokers on blology textbooks with .« sumgaon-

. generallike watting that evolution le “a theany not

» atpet” The-siokers wore.a “dumb idea,” he says
_ bluntly. (A, Georgea court tulad they were egal,
* find the case ig Under appeal.)

In Vkaconein,. thal Astute hopes i tablet the
’ Bohol Board.ifrtve small town of Grantsburg
' batik te - teact-the-contoversy approach.

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* Pegueste farthele, although ite working io become
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The Seattle Tunas: Locat tewe: Boos Seale group "lesch porxrowerry’ ot coniobite bo il?

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fen't really ae unplanned oF unguided as Darwin's
theories cen make it eee.

"Hinteretied ine because itscemed so different
than the reductiontiet scence that came out of the
15th century ... that sverything could be reduced
te chenplatry,” said John Veet, a pottical actartiot
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The petra inetitvies Fare min arias! bageet of
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physics end a PIO. In the philosophy of eciehce
fom Cambridge, whens he wrote his doctorte on
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He gaye hare no Creationist He dosen't, for
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He often points to the Gembcen Panod, « fire
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Rae? groupe of arial firet mppermt in thee Rene
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ees a8 COnboereles they want Grught in choot.

Sobendets, however, say the Cambran Period
may not be complemdy Uncerstnod, but that
doman't meen ths theory of evolution isin ioubie.

"They harp and herp Cn mated en, me
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Sciantets congider Mayer a coamtionist becase

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he cries that some Unnaried intallge nce —
and Weyer saya he parsonally thinks it la God —
hae an acts hand in oneaing sore complex
parts of Ife.

"| don'tinow what Mee to call it other than
craatoniam,” said Micheal Zimmennan, @ crite
end dean et the University of Vieconsin
Oahkosh.

Meyer, however, any hea sciertiet, ah

arts with eclanthic evidency, pt tne Blble. Hie
goal — a bly one — le tn change the wry
definition of eclance ec that it domant nile out the
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"Selenom shoud be open to whatever cause...
can begt explain the date,” Mayor anys,

That woud ba a teajor change for scanca, whlch
irre tet te thay reartural worked, Gott aye it
would ba @ "colnce stopper.”

“Ones you allow yourself to aay God did i you
stop looking fi" neturalletc: axplanatons. Mf you
atop looking, pouwon't find them,” she wise.

Scott aays aceines len an atheistic word view.
In achance, wha way, “Tle equady Inappropriate
fo gay God did #, or God had nothing te do with if.”

The breetitube's: call tp "beech the controversy*
hae wrong Peseta.

“Thera’s reo contoversy about wheather Hving
things have common ancestors,” Soot eal.
"There's no controversy about whather natural
selection bs very Iniporgutt in creating the vary
of orgarrams we have today."

While the irestitute toute Ma fet of 370 schentiets
who've signed a aintement saying they hove
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Selection, Scotta organization, ia pamedy of that
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Mayer hopee ihe Kansas Board of Education ‘vill
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Speakers vill be aeked to acdneme the laaue the
conte: wants to highlight whether Kersae
Solence GUMTCUIIM helpe students understand
dabate over contawsereial toplom such mn
evalution.

Kenese Citizene tor Science, however, hee Utged
& boyocttof the hearings, saying tha proposals
have been "njeched by the schenas community at
large.”

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